
4 P.3d 82 (2000)
168 Or. App. 236
STATE of Oregon, Respondent,
v.
Thomas Evan PEED, Appellant.
(97CR0115; CA A101254)
Court of Appeals of Oregon.
Petition for Reconsideration May 5, 2000.
Decided May 31, 2000.
Ann Farmer Kelley, Assistant Attorney General, and Hardy Myers, Attorney General, and Michael D. Reynolds, Solicitor General, Salem, for petition.
Before EDMONDS, Presiding Judge, and DEITS, Chief Judge,[*] and ARMSTRONG, Judge.
On Respondent's Petition for Reconsideration May 5, 2000.
PER CURIAM.
The state petitions for reconsideration of our opinion in this case, in which we reversed defendant's convictions on counts 1 and 2 of the indictment, based on our understanding of the state's confession of error. It asserts that it in fact confessed error as to count 7, not counts 1 and 2. The state is correct. Our error was made in reading the state's concession. Defendant's first and second assignments of error concerned count 7, and the state confessed error as to that count, in its "ANSWER TO ASSIGNMENTS OF ERROR No. 1 &amp; 2."
Reconsideration allowed; former disposition withdrawn; judgment of conviction and *83 sentence on count 7 reversed; otherwise affirmed.
NOTES
[*]  DEITS, C. J., vice CENICEROS, S. J.

